 Case 1:18-cv-00588-LPS Document 37 Filed 06/25/18 Page 1 of 2 PageID #: 2145



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


CITRIX SYSTEMS, INC.,
                                                         C.A. No. 1:18-cv-00588-GMS
                               Plaintiff,

             v.                                          JURY TRIAL DEMANDED


WORKSPOT, INC.

                               Defendant.


                                     NOTICE OF SERVICE

        I, Denise S. Kraft, do hereby certify that on June 22, 2018, a copy of: (i) Plaintiff Citrix

Systems, Inc.’s Objections and Responses to Defendant Workspot, Inc.’s Requests for

Production and Things regarding Citrix’s Motion for Preliminary Injunction; (ii) Plaintiff

Citrix Systems, Inc.’s Objections and Responses to Defendant Workspot, Inc.’s First Set of

Interrogatories; and (iii) Plaintiff Citrix Systems, Inc.’s Document Production (Bates Nos.

CTX00000001 – CTX00028244) were emailed or otherwise electronically provided to the

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 Case 1:18-cv-00588-LPS Document 37 Filed 06/25/18 Page 2 of 2 PageID #: 2146



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Dated: June 25, 2018                            DLA PIPER LLP (US)


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